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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

  MATTHEW KLEIN, and THE
  HEALTH SPECTRUM, LLC

                 Plaintiffs,                               Case No:
  v.

  DIAN OVED, and OVED MEDIA INTERNATIONAL
  INC. d/b/a EMPOWER DIGITAL

              Defendants.
  ________________________________/
                                             COMPLAINT

         Plaintiffs Matthew Klein a/k/a Sifu Matthew and The Health Spectrum, LLC (“Spectrum”)

  sue the Defendants Dian Oved and Oved Media International Inc. d/b/a Empower Digital

  (“Empower”) and state:

                                           JURISDICTION

         1.      Klein is a resident of Palm Beach County, Florida.

         2.      Spectrum is a Delaware limited liability company.

         3.      Oved is a resident of Arizona.

         4.      Empower is an Arizona corporation.

         5.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because

  the Plaintiffs assert claims against Defendants pursuant to 18 U.S.C. § 1836(b)(1), (c), 18 U.S.C.

  §§ 1030, et seq. and 18 U.S.C. §§ 2701, et seq, and supplemental jurisdiction exists over the

  remaining claim.

         6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

  portion of the events surrounding this case occurred in this District as Defendants engaged in

  tortious conduct that was directed into this District.

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                                       BACKGROUND FACTS

         7.       At all times relevant, Klein has owned and operated Spectrum, which provides

  wellness services, life coaching, martial arts training, and career advising to clients.

         8.      Klein provides services across state lines, to clients across the country, utilizing

  wires and communications that cross state lines.

         9.      Klein and Oved dated from January 2017 to December 2019.

         10.     During the relationship, Oved would engage in irrational and disturbing behavior,

  such as, threatening to kill herself if Klein broke up with her, calling and texting Klein at all hours

  when he was traveling for work, and banging on Klein’s door throughout the night.

         11.     Oved told Klein that she felt that a “dark force was possessing her that wanted his

  energy all the time,” and she admitted that she blamed Klein for “all of her darkness.”

         12.     In December 2019, after Klein and Oved broke up, Klein hired a third party to

  collect from Oved Klein’s personal items that remained in Los Angeles, California, which is where

  he lived prior to moving to Florida.

         13.     To Klein’s understanding, Klein’s belongings were located in three locations:

  Klein’s former residence, and two separate storage sites, one of which was located on-site at

  Oved’s and Klein’s former apartment complex where his residence was located.

         14.     Oved notified the third party she had placed all of Klein’s belongings, other than

  Klein’s old furniture, in Klein’s former office. The third party thereafter removed all of Klein’s

  belongings from the office. Klein had agreed to give his old furniture to Oved.

         15.     After visiting the two storage sites, one of which was inaccessible due to furniture

  shifting and the other which held only furniture, the third party asked Oved on two separate




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  occasions if there were any other belongings of Klein that she needed to deal with. Oved stated

  “No.”

          16.    After Klein broke up with her, Oved demonstrated her intent to harm him and

  Spectrum financially, telling Klein’s business associates she had sensitive information about Klein

  and she could “ruin” him and Spectrum.

          17.    Oved is a publicist and social media marketer, which she has referenced in making

  threats against Klein and Spectrum.

          18.    In December 2019, Oved and Empower sued Klein and Spectrum in Florida circuit

  court in Miami-Dade County, seeking repayment of an alleged loan (the “Litigation”).

          19.    In December 2021, during the course of the Litigation, Klein sought the assistance

  of Alexander Feil, a retired military intelligence officer with 17 years’ experience in intelligence

  and security. Klein requested that Mr. Feil assist him in recovering electronic communications.

          20.    On December 16, 2021, Plaintiffs learned that Oved had in her possession an iPad

  identified as “Matthew’s iPad” at her residence in Phoenix, Arizona.

          21.    Oved did not have permission to have the iPad, as Oved and Klein had agreed that

  he was entitled to the return of all his belongings other than furniture after he and Oved broke up.

  Furthermore, Klein had turned off the mobile service provider on the iPad after the break-up,

  believing that the device was stored safely away.

          22.    Upon being retained, Mr. Feil determined that the iPad was active and located in

  Phoenix by using Apple’s “Find My” application, which allows users to determine the location of

  devices.

          23.    After Klein learned that Oved was in possession of his iPad, he sent a text message

  via iMessage (Apple to Apple text service) expressing his shock that Oved may have access to his



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  private texts and files. Text messages sent on iMessage would have synced to and been visible on

  any of Klein’s Apple devices.

          24.       The iPad was then disconnected and has subsequently remained offline.

          25.       According to Mr. Feil, based on Klein’s device and iCloud settings, Oved, at

  minimum, was likely able to actively monitor Klein’s iMessage, desktop, downloads, documents,

  and photos, as well as to track the real-time location of Klein’s devices, including his iPhone.

          26.       Klein used iMessage on his iPhone to communicate privately with his counsel in

  the Litigation.

          27.       On December 30, 2021, Mr. Feil reviewed Klein’s online accounts (banking,

  administrative, social media) in order to identify anomalous and unrecognized logins/devices.

          28.       Klein and Spectrum use the Evernote application, a digital notebook utilizing cloud

  storage for cross-access from devices.

          29.       Klein and Spectrum use the Evernote platform to store confidential information and

  trade secrets, personal notes, business IP and strategy, financial information, and usernames and

  passwords. Klein utilizes Evernote to collaborate with consultants who assist him in developing

  trade secrets.

          30.       The trade secrets stored on the Evernote platform consist of the following:

                       a. Proprietary descriptions and techniques utilized for martial arts wellness,

                           corporate wellness, injury recovery, fitness and overall wellbeing, and

                           various business applications of such techniques.

                       b. Marketing plans and identities of potential customers.

                       c. Confidential VIP client lists, along with descriptions of their personal and

                           business issues.



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                        d. Financial records, including income and revenue from specific clients, and

                           financial projections and goals.

          31.     The foregoing documents and information are hereafter referred to as the “Trade

  Secrets.”

          32.     Klein and Spectrum also use Evernote to maintain backup records of their

  consultations with clients. Klein and Spectrum advise clients regarding business strategies and

  their clients share with Klein and Spectrum their trade secrets in connection with the same. Such

  trade secrets consist generally of business strategies and information like confidential formulae

  used in connection with businesses. The foregoing documents are highly sensitive and

  confidential.

          33.     Klein and Spectrum also used the Evernote platform to document and memorialize

  his litigation strategy in the Litigation.

          34.     Klein further used the Evernote system to maintain a personal diary.

          35.     Login data obtained from Evernote indicated that the IP address 76.216.128.26 (a

  non-VPN IP address), located in Phoenix logged into the Evernote platform via the Evernote web

  application twelve times from October 7, 2021, to November 8, 2021.

          36.     A second IP address (70.167.208.135), located in Phoenix successfully logged into

  Klein’s Evernote account on November 5, 2021.

          37.     Mr.       Feil     logged      into     Klein’s    personal      email     account

  (thehealthspectrum@gmail.com) (“Klein’s Gmail”) in order to determine if there was

  unauthorized access to that account. Five devices were logged into the Gmail account, one of

  which was listed as a "Mac" from Arizona, USA, as having logged in on December 22, 2021.




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         38.     Further analysis by Mr. Feil indicated that the device's IP address logged into

  Klein’s Gmail was 76.216.128.26 the same IP address logged into Klein’s Evernote account from

  Phoenix.

         39.     Klein also used his Gmail account to privately communicate with his counsel in the

  Litigation.

         40.     Mr. Feil also determined that a device utilizing a Phoenix IP address had logged

  into Mr. Klein’s Instagram account in July 2021.

         41.     Klein’s counsel in the Litigation informed Oved’s counsel that Oved had accessed

  Klein’s confidential information using his iPad.

         42.     Klein’s counsel requested the return of the iPad.

         43.     As of the date of this Complaint, Oved’s counsel never denied that Oved had

  accessed Klein’s confidential information or accounts, and neither Klein nor his attorney have

  been given Klein’s iPad.

         44.     At all times relevant, Oved acted on Empower’s behalf and in concert with it.

                COUNT I: VIOLATION OF STORED COMMUNICATIONS ACT

         45.     Plaintiffs hereby sues all Defendants for their violations of the Stored

  Communications Act, 18 U.S.C. §2511, et seq. (the “SCA”), and reallege paragraphs 1 – 44.

         46.     By accessing the information and data stored on Klein’s iPad (including the

  iMessage system), and by accessing Plaintiffs’ Evernote, Gmail, and Instagram accounts, Oved

  intentionally accessed, or caused others to access, and continue to access, without authorization a

  facility through which its electronic communications services are provided.




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           47.    Oved exceeded her authorization, which was none, to access Plaintiffs’ stored

  communications and obtained access to wires and electronic communications while in electronic

  storage.

           48.      Oved’s actions caused irreparable harm.

           49.    Plaintiffs lack an adequate remedy at law.

           50.    Unless enjoined by this Court, Oved’s and Empower’s violations of the SCA will

  continue and Plaintiffs will continue to suffer imminent and irreparable harm.

           51.    Klein and Spectrum seek an injunction against further violations of the SCA, and

  to enjoin the use or disclosure of any information obtained by Defendants in violation of the SCA.

           52.    Pursuant to 18 U.S.C. §2707, a plaintiff is entitled to equitable relief.

           53.    18 U.S.C. §2707(b)(3) provides for the award of reasonable attorney’s fees and

  costs.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in favor of

  Plaintiffs and award injunctive relief, the costs incurred in this matter, attorney’s fees, and any

  further relief this court deems just.

                      COUNT II: TRADE SECRET MISAPPROPRIATION CLAIM

           54.    Plaintiffs hereby sues all Defendants for their violations of the Defend Trade

  Secrets Act, 18 U.S.C. §1836, et seq. (the “DTSA”), and reallege paragraphs 1 – 44.

           55.    Spectrum and Klein own the Trade Secrets, which are identified in paragraph 30 of

  this Complaint.

           56.    The Trade Secrets are related to Klein’s and Spectrum’s products and services that

  are used in interstate and foreign commerce.




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         57.     Oved and Empower acquired access to the Trade Secrets through misappropriation

  in that Oved acquired the Trade Secrets by improper means.

         58.     Oved utilized improper means by accessing the Trade Secrets on Klein and

  Spectrum’s Evernote account without authorization, which was electronic espionage.

         59.     Klein and Spectrum undertook reasonable methods to maintain the secrecy of the

  Trade Secrets by storing the trade secret information in a locked, password-protected computer

  system.

         60.     The Trade Secrets are of substantial economic value and have conferred a

  competitive advantage on Klein and Spectrum.

         61.     Klein and Spectrum has been damaged as a result of the foregoing conduct.

         62.     All of the acts of trade secret misappropriation occurred on or after the date of the

  enactment of the Defend Trade Secrets Act, May 11, 2016.

         63.     Oved’s and Empower’s misappropriation of the Trade Secrets was willful and

  malicious. Oved and Empower knew Oved was not authorized to access Klein’s and Spectrum’s

  Evernote account. Accordingly, Plaintiffs are entitled to attorney’s fees pursuant to 18 U.S.C. §

  1836 (b) (3)(D).

         64.     As a direct and proximate result of the foregoing misappropriation of the Trade

  Secrets, Klein and Spectrum will suffer imminent and irreparable harm.

         65.     Unless enjoined by this Court, Oved’s and Empower’s acts of misappropriation will

  continue and Plaintiffs will continue to suffer irreparable harm.

         66.     Klein and Spectrum seek to enjoin Oved and Empower from using the Trade

  Secrets in any fashion.




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          67.     Klein and Spectrum have no adequate remedy at law and are entitled to an

  injunction under 18 U.S.C. § 1836(b)(3)(A).

          WHEREFORE, Plaintiffs respectfully request this court enter judgment in favor of

  Plaintiffs and award injunctive relief, attorney’s fees, the costs incurred in this matter, and any

  further relief this court deems just.

                            COUNT III – VIOLATION OF
                    COMPUTER FRAUD AND ABUSE ACT, 18 U.S.C. §1030

          68.     Plaintiffs hereby sues all Defendants for their violations of the Computer Fraud and

  Abuse Act, 18 U.S.C. §1030, et seq. (the “CFAA”), and reallege paragraphs 1 – 44.

          69.     Oved and Empower, unlawfully and without authorization, obtained or attempted

  to access or obtain information from a computer used or affecting interstate or foreign commerce

  or communication.

          70.     Klein and Spectrum sustained at least $5,000 in damages, consisting of fees paid to

  investigate and remedy Oved’s conduct, and time incurred by Plaintiffs to respond to and remedy

  Oved’s conduct.

          71.     Plaintiffs lack an adequate remedy at law.

          72.     Unless enjoined by this Court, Oved’s and Empower’s violations of the CFAA will

  continue and Plaintiffs will continue to suffer imminent and irreparable harm.

          73.     Klein and Spectrum seek an injunction against further violations of the CFAA, and

  to enjoin the use or disclosure of any information obtained by Defendants in violation of the

  CFAA.

          WHEREFORE, Plaintiffs respectfully request this court enter judgment in favor of

  Plaintiffs and award injunctive relief, the costs incurred in this matter, attorney’s fees, and any

  further relief this Court deems just.

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                                      COUNT IV - REPLEVIN

         74.     Plaintiffs reallege 1 through 44.

         75.     This is an action to recover possession of personal property in Arizona.

         76.     The description of the property is: an iPad identified as “Matthew’s iPad.” To the

  best of Plaintiffs’ knowledge, information, and belief, the value of the property is $100.

         77.     Plaintiffs are entitled to the possession of the property because it is the personal

  property of Plaintiffs.

         78.     To Plaintiffs’ best knowledge, information, and belief, the property is in the

  possession of Oved or her agent.

         79.     The property is wrongfully detained by Defendants. Defendants came into

  possession of the property because Defendants did not return possession of it to Plaintiffs after

  Klein and Oved ended their relationship.

         80.     To Plaintiffs’ best knowledge, information, and belief, Defendants continue to

  detain the property

         81.     The property has not been taken for any tax, assessment, or fine pursuant to law.

         82.     The property has not been taken under an execution or attachment against

  Plaintiffs’ property

         WHEREFORE Plaintiffs demand judgment for possession of the property identified as

  Matthew’s iPad.

                                                BARNETT, KIRKWOOD, KOCHE,
                                                LONG & FOSTER


                                                _/s/ Stephen J. Bagge
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